          Case 1:25-cr-00044-RDA           Document 8                       Filed 12/17/24       Page 1 of 1 PageID# 23
                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION

                                                                  MAGISTRATE JUDGE: WILLIAM E. FITZPATRICK
                                                                  DEPUTY CLERK: TINA FITZGERALD

    UNITED STATES OF AMERICA                                      HEARING: R5              CASE#:_24mj498_________

             -VS-                                                 DATE: _12/17/24             TIME:     __2:00 p.m.___


_____Abdullah Hassan____                                          RECORDER: FTR SYSTEM                  REMOTE HEARING      (      )



COUNSEL FOR THE UNITED STATES:                        Sehar Sabir

COUNSEL FOR THE DEFENDANT:                       ______________________________                                           ______

INTERPRETER: ___________                   LANGUAGE:                      ___

( x ) DEFT APPEARED      (   ) W/COUNSEL             (    X       ) DUTY FPD PRESENT:_Shannon Quill_________

( x ) DEFT INFORMED OF RIGHTS, CHARGES, PENALTIES and/or violations

( x ) DUE PROCESS ACT-ORDER SIGNED BY JUDGE

( x ) COURT APPOINTED COUNSEL ( x ) FPD      (       ) CJA        (       ) R40 PURPOSES ONLY (       ) DEFT WILL RETAIN COUNSEL

(    ) GVT. CALLS WITNESS & ADDUCES EVIDENCE                  (           ) AFFIDAVIT

(    ) EXHIBIT #_________________ADMITTED

(    ) PROBABLE CAUSE:           FOUND (         )       NOT FOUND (                )

(    ) PRELIMINARY HEARING WAIVED      (    ) FILED                   (    ) ORALLY

(    ) MATTER CONTINUED FOR FURTHER PROCEEDINGS BEFORE THE GRAND JURY

(    ) DFT. ADMITS VIOLATION (      )DFT. DENIES VIOLATION                      (       ) COURT FINDS DFT. IN VIOLATION

MINUTES: USA seeks detention-Granted.

( x ) DEFENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSHALS
( ) DEFENDANT CONTINUED ON CONDITIONS OF     (      ) BOND ( )PROBATION                                    (     )SUP. RELEASE

NEXT COURT APPEARANCE:___12/19/24________ at          2:00 pm _________Before _Fitzpatrick__________________
( x ) DH ( x ) PH ( ) STATUS ( ) TRIAL ( ) JURY ( ) PLEA ( ) SENT (    ) PBV ( ) SRV ( ) R40 ( ) PTV
